
PER CURIAM.
Affirmed on the authority of Colhoun v. Greyhound Lines, Inc., 265 So.2d 18 (Fla. 1972); Ganem v. Ganem, 269 So.2d 740 (Fla.3d DCA 1972); Lescard v. Keel, 211 So.2d 868 (Fla.2d DCA 1968); Hopkins v. Lockheed Aircraft Corporation, 201 So.2d 743, 749 (Fla.1967), opinion on rehearing; Astor Electric Service v. Cabrera, 62 So.2d 759 (Fla.1953); Myrick v. Griffin, 146, Fla. 148, 200 So.2d 383 (1941).
